     Case 2:20-cv-02892-SHL-tmp          Document 626         Filed 11/15/24     Page 1 of 3
                                         PageID 35940



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


JESSICA JONES, et al.,                              Case No. 2:20-cv-02892-SHL-tmp

                   Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.

                   Defendants.
                                                    JURY DEMAND

     INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF NON-OPPOSITION OF
        UNOPPOSED MOTION FOR FINAL APPROVAL OF SETTLEMENT


       Indirect Purchaser Plaintiﬀs (“Plaintiﬀs”) Chrisina Lorenzen, Jessica Jones, and Amy

Coulson, by and through Class Counsel, hereby provide notice to the Court that there have been

no objections or opposition to Plaintiﬀs’ unopposed pending motion for ﬁnal approval of

settlement, ECF No. 625.

       On May 13, 2024, Plaintiﬀs ﬁled a motion for preliminary approval of the settlement. See

ECF No. 606. Within that motion, Plaintiﬀs put forward a comprehensive notice plan that would

be conducted by the settlement administrator, Angeion. See ECF No. 606-4 (Weisbrot

Declaration) at ¶¶ 18–56. On June 18, 2024, the Court preliminarily approved the settlement and

ordered the notice plan to commence. See ECF No. 612 at 29 (requiring the notice plan to be

completed by July 18, 2024). �e Court also ordered that September 26, 2024 would be the

deadline for any class member to exclude themselves from the class. See id. at 29–30. �e Court

further ordered that September 26, 2024 would be the deadline for any class member to “object

to the proposed Settlement, Settlement Class Counsel’s request for attorneys’ fees, unreimbursed

litigation costs and expenses, or service awards for the Class Representatives.” See id. at 30. On

September 3, 2024, Plaintiﬀs ﬁled a motion for an award of attorneys’ fees, costs, and for service

awards. ECF No. 623. On October 9, 2024, Plaintiﬀs notiﬁed the Court that as of that date no

 Case No. 2:20-cv-02892-SHL-tmp              1
 INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF NON-OPPOSITION OF UNOPPOSED MOTION
                             FOR FINAL APPROVAL OF SETTLEMENT
    Case 2:20-cv-02892-SHL-tmp            Document 626         Filed 11/15/24      Page 2 of 3
                                          PageID 35941



objections or opt-outs had been received. On October 17, 2024, Plaintiﬀs ﬁled a motion for ﬁnal

approval of the proposed Settlement. ECF No. 625.

       �rough this notice of non-opposition, Plaintiﬀs wish to notify the Court that as of

November 13, 2024, there have been no objections or opposition to the proposed settlement,

class counsel’s request for attorneys’ fees and costs, class counsel’s request for service awards to

the Plaintiﬀs, the motion for preliminary approval, or the motion for ﬁnal approval. See Decl. of

D. Seidel at ¶¶ 7–9. �e class administrator is also providing an updated declaration stating that

as of November 13, 2024, no opt-out requests have been received from any class members. Id. at

¶ 2 and Exhibit A.



Dated: November 15, 2024                         Respectfully submitted,

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 Case No. 2:20-cv-02892-SHL-tmp              2
 INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF NON-OPPOSITION OF UNOPPOSED MOTION
                             FOR FINAL APPROVAL OF SETTLEMENT
  Case 2:20-cv-02892-SHL-tmp   Document 626     Filed 11/15/24     Page 3 of 3
                               PageID 35942




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Case No. 2:20-cv-02892-SHL-tmp              3
INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF NON-OPPOSITION OF UNOPPOSED MOTION
                            FOR FINAL APPROVAL OF SETTLEMENT
